 Case 3:16-cv-00068-REP Document 8 Filed 04/13/16 Page 1 of 1 PageID# 34




                               UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Richmond Division



Emmitt Owens
                                     Plaintiff,
V.

                                                                   Civil Action No.; 3:16cv68
Bon Secours Health System, Inc., et al.

                                     Defendants.




                                    YRIMRgfcSPaa ORDER


       Upon consideration of the Parties' Joint Motion for Approval of Settlement, it is hereby

ORDERED that the Motion is GRANTED and that the Settlement Agreement is APPROVED as

fair and adequate.

       This          day of_                      2016.




                                                                 /s/
                                                          United States District Judge
                                                          Robert E. Payne
